Case 1:07-cv-03701-RJH Document 3 Filed 05/17/2007 Page1 oil

AO 440 (Rev. 10/93) Summons ln a Civil Action -SDNY WEB 4/99
RETURN OF SERV|CE

 

 

DATE
Service of the Summons and Comp|aint was made by me1 5/11/0 7

NAME OF SERVER (PRlNT) T|TLE
<[>QWNQ'/\l (__M @©i§r\l`i'€. DIRECToR/P RocEs S SERVE R

- Check one box below to indicate appropriate method of service

 

 

 

 

|:l Served personally upon the defendant Place where served:

 

 

|:I Left copies thereof at the defendants dwelling house or usual place of abode with a person of suitable age and
discretion then residing therein.

Name of person with whom the summons and complaint were left:

 

 

I:| Returned unexecuted:

 

 

 

 

Other(specify): Under Section 306 Bus_ines_s C_orporation Law.
S§ér§farv §f Sfaf§ of N§w York '
41 State Street, Albany, N. Y. On-

‘ AMERICAN FID'EL-IT'Y MeR~TGAG`E e`oRlS_:

 

STATEMENT OF SERV|CE FEES

 

TRAVEL SERV|CES TOTAL

 

 

 

DECLARAT|ON OF SERVER

 

 

l declare under penalty of perjury under the laws of the United States of Americ. t the foregoing

   

l 07
Executed on 5/1 /

 

Date

Albany, N. .
1 Address of Server

 

_/__`

NOTZ\RY PUBLIC

FrankJ. Panucci
Notary Public- -State of NY
Qualified in Albany Co.

NO. 4721156
COmm.E Expires duty 31 90 010

 

 

(1) As to who may serve a summons see Rule 4 of the Feder'al Rules of Civi| Procedure.

